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U.S. DEPARTMENT OF JUSTICE REQUEST FOR ADMINISTRATIVE REMEDY Exh b it E

Federal Bureau of Prisons

 

 

 

Se
Type or use ball-point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

From: BAKEA DAWVZLEL A 25765-5049 TB fer Eurhrs
UNIT

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. INSTITUTION
Part A- INMATE REQUEST

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EBRR DAYS PRoCRAMMtVE avd PRODMCT IVE AcTLVIrIEs , TL WAVE
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ACT. Thesé CREDLT§ RESULT IW AW FSA RELEASE DATE OF TOME
OF 2023, PLEASE AmLy FSA CkEDITS AWO CokkECT MT
RELEASE DATE. THAWK You.

q/ af aa Lp £5 Lx
DATE SIGNA’ OF REQUESTER

Part B- RESPONSE

 

 

 

 

 

DATE WARDEN OR REGIONAL DIRECTOR
If dissatisfied with this resporise, you may appeal to the Regional Director. Your appeat must be received in the Regional Office within 20 calendar days of the date of this response.
ORIGINAL: RETURN TO INMATE \. CASE NUMBER:
CASE NUMBER:

Part C- RECEIPT
Return to:

 

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
